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                     United States Court of Appeals
                              FOR THE DISTRICT OF COLUMBIA CIRCUIT




  No. 14-7170                                                    September Term, 2015
                                                                 FILED ON: JANUARY 15, 2016
  MICHALI TOUMAZOU, ET AL.,
                    APPELLANTS

  v.

  TURKISH REPUBLIC OF NORTHERN CYPRUS, ET AL.,
                     APPELLEES


                             Appeal from the United States District Court
                                     for the District of Columbia
                                         (No. 1:09-cv-01967)


         Before: HENDERSON, GRIFFITH, and KAVANAUGH, Circuit Judges.

                                           JUDGMENT

          This case was considered on the record from the United States District Court for the District
  of Columbia and on the briefs and oral arguments of the parties. The Court has afforded the issues
  full consideration and has determined that they do not warrant a published opinion. See FED. R. APP.
  P. 36; D.C. CIR. R. 36(d). For the reasons stated below, it is

       ORDERED AND ADJUDGED that all orders of the district court on appeal be
  AFFIRMED.

           The putative Toumazou class is a group of Cypriots who were allegedly displaced during
  events that led to the formation of the Turkish Republic of Northern Cyprus (TRNC). Before the
  district court, the putative class asserted numerous claims alleging that the TRNC is engaged in
  an ongoing conspiracy with HSBC Holdings, PLC and HSBC Bank USA, N.A. to interfere with
  the class members’ real and personal property in Cyprus by, in part, selling property in the
  United States. The district court dismissed these claims and, at the same time, denied the putative
  class the opportunity to conduct jurisdictional discovery and leave to file a third amended
  complaint. We affirm.
          The putative class failed to establish that the district court had personal jurisdiction over
  the TRNC based on the asserted claims. To survive a motion to dismiss under Federal Rule of
  Civil Procedure 12(b)(2), a plaintiff must make a prima facie showing of specific and pertinent
  jurisdictional facts that connect the defendant to the forum. See First Chi. Int’l v. United Exch.
  Co., 836 F.2d 1375, 1378-79 (D.C. Cir. 1988). A plaintiff cannot carry this burden by making
  only bare allegations or conclusory statements. Id. And, for specific jurisdiction, a plaintiff must
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  allege that the defendant’s contacts with the forum gave rise to the asserted claims. See
  Goodyear Dunlop Tires Operations, S.A. v. Brown, 131 S. Ct. 2846, 2851 (2011); see also D.C.
  CODE § 13-423. Here, the plaintiffs failed to carry this burden because they never identified any
  specific sale or advertisement of their property by the defendants that occurred in the United
  States, much less the District of Columbia. Because the plaintiffs also expressly conceded in
  their brief before this court that there is no basis for general personal jurisdiction, we do not
  consider that issue. The district court thus properly dismissed the claims against the TRNC for
  lack of personal jurisdiction.

           For a similar reason, the district court did not abuse its discretion by denying the putative
  class jurisdictional discovery. A court may deny jurisdictional discovery in “the absence of any
  specific indication . . . regarding what facts additional discovery could produce that would
  affect” the court’s jurisdictional analysis. Cheyenne Arapaho Tribes of Okla. v. United States,
  558 F.3d 592, 596 (D.C. Cir. 2009) (quotation marks omitted). Although it was given repeated
  opportunities to identify such useful facts, the putative class instead continued to base its request
  for jurisdictional discovery on vague descriptions of an alleged conspiracy and
  mischaracterizations of the jurisdictional evidence provided by the TRNC. The district court was
  thus well within its discretion to deny jurisdictional discovery.
           The district court also did not abuse its discretion in denying the putative class’s request
  to amend its complaint a third time. While Federal Rule of Civil Procedure 15 requires the court
  to freely give leave to amend a complaint when justice so requires, leave may be denied due to
  futility. See Richardson v. United States, 193 F.3d 545, 548-49 (D.C. Cir. 1999). The district
  court properly concluded that amendment would be futile in this case because the putative class’s
  third amended complaint failed to allege any additional specific facts that would cure the
  deficiencies of its second amended complaint.

           Finally, the putative class makes no viable argument that the district court erred by
  dismissing the claims against the HSBC defendants. We will not consider the putative class’s
  new argument regarding HSBC’s liability because the class failed to present that claim to the
  district court. Because the putative class also does not challenge either of the district court’s
  grounds for dismissing its other claims against the HSBC defendants, we will not consider
  whether the district court erred in dismissing those claims. See Harris v. U.S. Dep’t of Veterans
  Affairs, 776 F.3d 907, 915 (D.C. Cir. 2015).

          Pursuant to D.C. Circuit Rule 36, this disposition will not be published. The Clerk is
  directed to withhold issuance of the mandate herein until seven days after resolution of any
  timely petition for rehearing or rehearing en banc. See FED. R. APP. P. 41(b); D.C. CIR. R.
  41(a)(1).

                                             Per Curiam

                                                                 FOR THE COURT:
                                                                 Mark J. Langer, Clerk

                                                         BY:     /s/
                                                                 Ken Meadows
                                                                 Deputy Clerk
